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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                 MINUTES OF PROCEEDINGS

 NEWARK
                                                                  Date: August 18, 2020


 JUDGE: HON. CLAIRE C. CECCHI

 COURT REPORTER: WALTER PERELLI

 DEPUTY CLERK: JACQUIE LAMBIASE

                                                                   Docket No. 18-cv-734 (CCC)


Title of Case: JANSSEN PHARMACEUTICALS, INC. et al v. TEVA PHARMACEUTICALS USA, INC. et al

 Appearances:

 Keith Miller, Barbara Mullin, Aron Fischer & Andrew D. Cohen, Esqs. On behalf of the Plaintiffs
 Liza Walsh, Christine Gannon, William Walsh, Jr., Christopher Jagoe, Mira Mulvaney & Jeanna
 Wacker, Esqs. on behalf of the defendants


NATURE OF PROCEEDINGS:


 Final PreTrial Conference held on the record.




 Time Commenced: 9:30 a.m.                         Time Adjourned: 2:30 p.m.


                                                                   Jacquie Lambiase
                                                                Jacquie Lambiase, Deputy Clerk
